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             Case 1:15-cv-05345-AJN-KHP Document 647-6 Filed 05/09/18 Page 2 of 2
From:         Adam Ibrahim [adamibme@gmail.com]
Sent:         4/11/2017 4:10:08 PM
To:           Martin Dowd [martin.dowd@cbre-syr.com]; Arnie Herz [arnie@arnieherz.com]
Subject:      Re: Syracuse



Truly infuriating.    Not sure how to proceed here.

Adam

Sent from my iPhone

> On Apr 11, 2017, at 12:07 PM, Martin Dowd <martin.dowd@cbre-syr.com> wrote:

•
> We can only make a claim if they sell it during our listing period or within
> a year afterwards to somebody we engaged in discussions with.

•
> My gut tells me that the buyer will be laundering money and likely this will
> be a sale of the LLC, not a transfer of title. If title transfers, then I
> have a case to sue as it's easy to track a "sale". If they transfer the
> LLC, it has been proven to be an extremely difficult claim to sue on that
> basis, unless that sale goes to a party with whom I had previously engaged
> in discussions.

•
> They are clearly scum. I'm pissed, but I really feel for Mike.            That poor
> guy is probably going to hang on.

>   Martin Dowd 1 Senior Broker
>   cBRE1Syracuse 1 Brokerage services
>   313 E. Willow St., Suite 202 1 Syracuse, NY 13203
>   T 315 422 4200 ext. 316 1 F 315 422 7533
>   martin.dowd@cbre-syr.com 1 www.cbre.com
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•      Original Message
> From: Adam Ibrahim [mailto:adamibme@gmail.com]
> Sent: Tuesday, April 11, 2017 12:01 PM
> To: Martin Dowd
> Subject: Re: Syracuse

•
> Shit. Should we sue?

> Adam
•

•
> Sent from my iPhone

» On Apr 11, 2017, at 8:23 AM, Martin Dowd <martin.dowd@cbre-syr.com> wrote:

» Suite




                                                                                         Almaty-BTA0231517
